       Case 4:20-cv-05640-YGR        Document 1098     Filed 01/02/25    Page 1 of 7




 1    DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
        dswanson@gibsondunn.com                         mark.perry@weil.com
 2    GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
 3    Los Angeles, CA 90071                             joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
 4    Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
 5    CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
 6      crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
 7    1050 Connecticut Avenue, N.W.                     morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
 8    Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
 9                                                   Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10        jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
21         Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                        CASE NO. 4:20-CV-05640-YGR
        Case 4:20-cv-05640-YGR                         Document 1098                  Filed 01/02/25              Page 2 of 7




 1                                                          TABLE OF CONTENTS
 2                                                                                                                                                   Page
 3   LEGAL STANDARD............................................................................................................................1

 4   DISCUSSION ........................................................................................................................................2

 5   CONCLUSION ......................................................................................................................................3

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                               i                               CASE NO. 4:20-CV-05640-YGR
        Case 4:20-cv-05640-YGR                      Document 1098                Filed 01/02/25            Page 3 of 7




 1                                                    TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s)
 3   Cases
 4   Al Otro Lado, Inc. v. Wolf,
 5      2020 WL 5422784 (S.D. Cal. Sept. 10, 2020) .................................................................................... 2

 6   In re Anthem, Inc. Data Breach Litig.,
         2018 WL 3067783 (N.D. Cal. Mar. 16, 2018) ................................................................................ 1, 2
 7
     Apple Inc. v. Rivos, Inc.,
 8      2024 WL 1204115 (N.D. Cal. Mar. 21, 2024)............................................................................ 1, 2, 3
 9   DNA Genotek Inc. v. Spectrum Sols., L.L.C.,
       2023 WL 4335734 (S.D. Cal. May 10, 2023) ................................................................................. 1, 2
10

11   Ervine v. Warden,
        214 F. Supp. 3d 917 (E.D. Cal. 2016)................................................................................................. 1
12
     Kamakana v. City and Cnty. of Honolulu,
13     447 F.3d 1172 (9th Cir. 2006) ........................................................................................................ 1, 2
14   Krommenhock v. Post Foods, LLC,
        2020 WL 2322993 (N.D. Cal. May 11, 2020) .................................................................................... 3
15

16   Lamartina v. VMware, Inc.,
        2024 WL 3049450 (N.D. Cal. June 17, 2024) .................................................................................... 2
17
     Lee v. Great Am. Life Ins. Co.,
18      2023 WL 8126850 (C.D. Cal. Nov. 13, 2023) .................................................................................... 2

19   Phillips v. Gen. Motors Corp.,
        307 F.3d 1206 (9th Cir. 2002) ........................................................................................................ 1, 3
20
     PQ Labs, Inc. v. Qi,
21
        2014 WL 4617216 (N.D. Cal. Sept. 15, 2014) ................................................................................... 1
22
     Rembrandt Diagnostics, LP v. Innovacon, Inc.,
23      2018 WL 1001097 (S.D. Cal. Feb. 21, 2018) ................................................................................. 1, 2

24   Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc.,
        619 F. Supp. 3d 970 (N.D. Cal. 2021) ................................................................................................ 1
25
     Virun, Inc. v. Cymbiotika, LLC,
26      2022 WL 17401698 (C.D. Cal. Aug. 19, 2022).................................................................................. 2
27
     Williams v. Apple Inc.,
28      2021 WL 2476916 (N.D. Cal. June 17, 2021) .................................................................................... 3


     APPLE INC.’S MOTION TO SEAL                                          ii                            CASE NO. 4:20-CV-05640-YGR
        Case 4:20-cv-05640-YGR                          Document 1098                  Filed 01/02/25               Page 4 of 7




 1   Other Authorities

 2   Federal Rule of Civil Procedure 26(c) ...................................................................................................... 1
 3   Local Rule 79-5......................................................................................................................................... 1
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                                iii                              CASE NO. 4:20-CV-05640-YGR
       Case 4:20-cv-05640-YGR           Document 1098         Filed 01/02/25      Page 5 of 7




 1          Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   respectfully moves the Court to seal portions of three exhibits submitted in connection with the January

 3   2, 2025 Joint Status Report, submitted pursuant to the Court’s Standing Discovery Order. The exhibits

 4   contain information sealable under controlling law and Local Rule 79-5. Specifically, these documents

 5   contain competitively sensitive, non-public information regarding Apple’s business codenames for

 6   ongoing confidential projects. Apple’s proposed redactions of that information are highlighted in yellow

 7   in the un-redacted versions of the exhibits that Apple is filing under seal and are itemized in the

 8   concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).

 9                                            LEGAL STANDARD

10          “The court may, for good cause, issue an order to protect a party or person from annoyance,

11   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

12   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

13   for many types of information, including, but not limited to, trade secrets or other confidential research,

14   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

15   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

16   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

17   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

18   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

19   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

20   (granting request to seal “internal product codenames” and noting that a prior request for the same had

21   also been granted).

22          Although a party must show compelling circumstances to seal information appended to

23   dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

24   Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

25   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

26   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

27   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

28   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.


     APPLE INC.’S MOTION TO SEAL                         1                      CASE NO. 4:20-CV-05640-YGR
       Case 4:20-cv-05640-YGR            Document 1098           Filed 01/02/25     Page 6 of 7




 1   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

 2   seal “because the request is narrowly tailored and only includes confidential information”).

 3                                                 DISCUSSION

 4          Apple seeks to seal sensitive business information regarding internal business codenames for

 5   ongoing confidential projects. See Perry Decl. ¶ 5. Specifically, the exhibits to the Joint Status Report

 6   contain three documents in which Apple discusses codenames Apple has not made public. The

 7   documents reveal sensitive information about Apple’s confidential business decisions, and documents

 8   including these codenames have already been marked as highly confidential in the course of discovery

 9   and have not been challenged by Epic under the extant protective order. See id. ¶¶ 4–5.

10          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

11   non-dispositive joint statements regarding discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he

12   public has less of a need for access to court records attached only to non-dispositive motions because

13   those documents are often unrelated, or only tangentially related, to the underlying cause of action.”);

14   Lee v. Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

15   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re

16   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018 WL

17   1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

18          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL

19   3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s

20   limited proposed redactions protect against the harmful disclosure of Apple’s internal business decision-

21   making, including non-public project codenames.           See DNA Genotek Inc., 2023 WL 4335734, at *2

22   (finding good cause where disclosure would “undercut” a party’s “position … in the marketplace”);

23   Apple Inc., 2024 WL 1204115, at *1. Indeed, courts routinely hold that the type of information at issue

24   here is sealable because its disclosure can be competitively harmful when a company’s confidential

25   information is revealed. See, e.g., Virun, Inc. v. Cymbiotika, LLC, 2022 WL 17401698, at *2 (C.D. Cal.

26   Aug. 19, 2022) (“Courts in this Circuit have found potential harms arising from public disclosure of

27   trade secrets or a business’ confidential financial and pricing information to be sufficient reason to seal”);

28   Apple Inc., 2024 WL 1204115, at *1 (granting request to seal “references to[ ] internal product


     APPLE INC.’S MOTION TO SEAL                           2                      CASE NO. 4:20-CV-05640-YGR
       Case 4:20-cv-05640-YGR           Document 1098            Filed 01/02/25    Page 7 of 7




 1   codenames”). Apple operates in an intensely competitive environment, and thus has taken extensive

 2   measures to protect the confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed

 3   information could harm Apple’s business interests. Id. ¶ 4.

 4          Moreover, Apple has narrowly tailored its sealing request to include only the information

 5   necessary to protect Apple’s confidential business information and data.           See Perry Decl. ¶ 6;

 6   Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion

 7   to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL

 8   2476916, at *2–*3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored

 9   redactions” and finding “most of Apple’s sealing requests[ ] appropriate” to the extent the disclosures

10   “would harm Apple’s competitive standing”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions

11   appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive and confidential

12   information, the disclosure of which would result in competitive harm to Apple”). Apple has only

13   partially redacted select portions of the exhibits. See Perry Decl. ¶ 6.

14          For the foregoing reasons, there is good cause that warrants partially sealing the exhibits to the

15   Joint Status Report.

16                                                CONCLUSION

17          Apple respectfully requests that the Court seal the information identified in the accompanying

18   declaration.

19   Dated: January 2, 2025                                   Respectfully submitted,

20                                                            By: s Mark A. Perry
                                                              Mark A. Perry
21                                                            WEIL, GOTSHAL & MANGES LLP

22                                                            Attorney for Apple Inc.

23

24

25

26

27

28


     APPLE INC.’S MOTION TO SEAL                          3                       CASE NO. 4:20-CV-05640-YGR
